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 1 BRUCE LOCKE (#177787)
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 2 555 University Avenue, Suite 170
     Sacramento, CA 95825
 3 (916) 569-0667
     (916) 569-0665 fax
 4 Attorneys for
     ALLEN HARROD
 5
 6                    IN THE UNITED STATES DISTRICT COURT
 7                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 8 UNITED STATES OF AMERICA,      )                No. Cr-S-03-384 WBS
                                  )
 9                Plaintiff,      )                STIPULATION AND ORDER
                                  )                CONTINUING THE DATE FOR
10                                )                SENTENCING FROM MAY 27,
        v.                        )                2008 TO JULY 28, 2008 AND
11                                )                MODIFYING THE SCHEDULE
   MICHAEL LABRECQUE; and         )                FOR THE PRE-SENTENCE REPORT
12 ALLEN HARROD,                  )
                                  )
13                                )
                  Defendants.     )
14 _______________________________)
15        The defendants, Michael Labrecque and Allen Harrod, by and through their
16 attorneys, Caro Marks and Bruce Locke, and the United States, by and through its
17 attorney, Laurel White, hereby stipulate that the Judgement and Sentencing currently
18 set for May 27, 2008 shall be continued to July 28, 2008 at 8:30 a.m., and the parties
19 further stipulate that the proposed Pre-Sentence Report shall be disclosed to counsel no
20 later than June 15, 2008, that counsel’s written objections to the Pre-Sentence Report
21 shall be delivered to the Probation Officer and opposing counsel no later than June 30,
22 2008, that the Pre-Sentence Report shall be filed with the Court and disclosed to counsel
23 no later than July 14, 2008, and that the Motion for correction of the Pre-Sentence
24 Report shall be filed with the Court and served on the Probation Officer and opposing
25 counsel no later than July 21, 2008.
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29                                             1
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 2                                    Respectfully submitted,
 3
 4 DATED: May 2, 2008                       /S/ Bruce Locke
                                      BRUCE LOCKE
 5                                    Attorney for Allen Harrod
 6
     DATED: May 2, 2008                     /S/ Bruce Locke for
 7                                    CARO MARKS
                                                   MichaelLabrecque
                                      Attorney for Joseph  Labrecque
 8
 9 DATED: May 2, 2008                      /S/ Bruce Locke for
                                      LAUREL WHITE
10                                    Attorney for the United States
11
12 IT IS SO ORDERED:
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     DATED: May 2, 2008
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